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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
       vs.                                   ) Case No. S1-4:07CR00184 ERW (AGF)
                                             )
GREGORY GRIGGS,                              )
                                             )
              Defendant.                     )

                                         ORDER

        This matter is before the Court on Defendant Gregory Griggs’ Motion to Continue

the August 28, 2007 hearing [Doc. #287], filed on August 17, 2007. Inasmuch as it

appears that the motions filed by Defendant Griggs scheduled for hearing that day are not

evidentiary motions, the Court shall grant Defendant’s request, subject to the condition

that Defendant will be available for the hearing on Tuesday, September 4, 2007, at 9:00

a.m.

        The Court reminds Defendant that the hearings scheduled in this 20-defendants

case for the week of August 27 were scheduled at a status conference on July 2, 2007.

The hearings were scheduled for that week based on the representation of defense counsel

that they were available on those dates, and the Court advised counsel the dates would

not be changed absent defendants obtaining a continuance of the trial date. Any further

continuation beyond September 4, 2007 shall not be granted absent a continuation of the

trial date.

        Accordingly,
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      IT IS HEREBY ORDERED that Defendant’s Motion to Continue the August 28,

2007 hearing [Doc. #287] is GRANTED, conditioned on Defendant’s appearance for

said hearing no later than September 4, 2007. The hearing on pretrial motions with

respect to Defendant Gregory Griggs only shall be continued to September 4, 2007, at

9:00 a.m.




                                            AUDREY G. FLEISSIG
                                            UNITED STATES MAGISTRATE JUDGE

Dated this 20th day of August, 2007.
